              Case 3:20-cv-07625-EMC Document 58 Filed 02/04/21 Page 1 of 4




     POMERANTZ LLP
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 4
 5   Attorney for Plaintiff

 6   [Additional counsel on signature page]
 7                                  UNITED STATES DISTRICT COURT
 8                                NORTHERN DISTRICT OF CALIFORNIA

 9    DANIELLE CARR, Individually and On           Case No. 3:20-cv-07625-EMC
      Behalf of All Others Similarly Situated,
10                                                 STIPULATION AND [PROPOSED]
11                            Plaintiff,           ORDER CONSOLIDATING RELATED
                                                   ACTIONS, APPOINTING LEAD
12                   v.                            PLAINTIFF, AND APPROVING LEAD
                                                   COUNSEL
13    ZOSANO PHARMA CORPORATION,
14    STEVEN LO, JOHN P. WALKER, and
      KONSTANTINOS ALATARIS,
15
                              Defendants.
16
17
      ROB BECERRA, Individually and On Behalf of   Case No. 3:20-cv-07850-CRB
18    All Others Similarly Situated,

19                            Plaintiff,
20
                     v.
21
      ZOSANO PHARMA CORPORATION,
22    STEVEN LO, JOHN P. WALKER, and
      KONSTANTINOS ALATARIS,
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24                            Defendants.

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            WHEREAS, on October 29, 2020, plaintiff Danielle Carr commenced the first of the above-
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 2   captioned actions (the “Carr Action”) by filing a complaint against the above-captioned Defendants,

 3   alleging violations of the federal securities laws;
 4          WHEREAS, On November 6, 2020, plaintiff Rob Becerra filed a complaint in the second of the
 5
     above-captioned actions (the “Becerra Action”) against the above-captioned Defendants, alleging
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     violations of the federal securities laws;
 7
 8          WHEREAS, on December 28, 2020, Tuk Doss (“Doss”) filed a motion in the Carr Action seeking

 9   consolidation of related actions, appointment as Lead Plaintiff and approval of his selection of Glancy
10   Prongay & Murray LLP (“Glancy”) and the Kehoe Law Firm, P.C. (“Kehoe”) as Co-Lead Counsel (Dkt.
11
     No. 29);
12
            WHEREAS, on December 28, 2020, Hosam Alqurashi (“Alqurashi”) also filed a motion in the
13
14   Carr Action seeking consolidation of related actions, appointment as Lead Plaintiff and approval of his

15   selection of Pomerantz LLP (“Pomerantz”) as Lead Counsel (Dkt. No. 33);

16          WHEREAS, on December 28, 2020, five other movants filed motions in the Carr Action seeking
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     consolidation of related actions, appointment as Lead Plaintiff and approval of their respective selections
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     of Lead Counsel (collectively, the “Competing Movants”) (Dkt. Nos. 9, 13, 15, 22, 26), each alleging a
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     smaller financial interest in this action than Doss and Alqurashi;
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21          WHEREAS, as of the time of this submission, four of the five Competing Movants have filed

22   notices either withdrawing their motions or stating their non-opposition to the other pending Lead
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     Plaintiff motions (see Dkt. Nos. 36-39), and the fifth Competing Movant has not filed any opposition and
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     appears to have abandoned his motion;
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            WHEREAS, the Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-
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27   4(a)(3)(B)(iii), provides, inter alia, that the most adequate plaintiff to serve as lead plaintiff is, in the

28   determination of the Court, the “person or group of persons” that has the largest financial interest in the
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     relief sought by the class and otherwise satisfies the relevant requirements of Rule 23 of the Federal Rules
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 2   of Civil Procedure;

 3          WHEREAS, 15 U.S.C. § 78u-4(a)(3)(B)(iv) provides that, subject to the approval of the Court,
 4   the most adequate plaintiff will select and retain counsel to represent the class;
 5
            WHEREAS, having reviewed one another’s submissions to the Court, Doss and Alqurashi believe
 6
     it is in the best interests of the class for Doss and Alqurashi to serve as Co-Lead Plaintiffs and for Glancy
 7
 8   and Pomerantz to serve as Co-Lead Counsel with Kehoe as Additional Counsel;

 9          WHEREAS, Doss and Alqurashi have provided signed, sworn Certifications in support of their
10   respective motions setting forth, inter alia, their transactions in Zosano Pharma Corporation securities;
11
            IT IS HEREBY STIPULATED AND AGREED, subject to the Court’s approval, as follows:
12
                1. Doss and Alqurashi are hereby appointed Co-Lead Plaintiffs in this Action and any
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14                  subsequently filed or transferred actions that are consolidated with this Action, pursuant

15                  to 15 U.S.C. § 78u-4(a)(3)(B); and

16              2. Co-Lead Plaintiffs’ selections of Glancy and Pomerantz as Co-Lead Counsel are hereby
17
                    approved.
18
19
                                                           Respectfully submitted,
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21   Dated: January 19, 2021                               POMERANTZ LLP

22                                                         By: /s/ Jennifer Pafiti
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                                                           POMERANTZ LLP
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             Case 3:20-cv-07625-EMC Document 58 Filed 02/04/21 Page 4 of 4




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 5
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 9
                                                      Counsel for Movant Hosam Alqurashi and
10                                                    Proposed Co-Lead Counsel for the Class
11
12   DATED: January 19, 2021                          GLANCY PRONGAY & MURRAY LLP
13                                                    By: s/ Charles H. Linehan
14                                                    Robert V. Prongay
                                                      Charles H. Linehan
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18                                                    Counsel for Movant Tuk Doss and Proposed Co-
                                                      Lead Counsel for the Class
19
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24                                                    Additional Counsel
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